     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 1 of 12 Page ID #:25368



 1    E. MARTIN ESTRADA
      United States Attorney
 2    SCOTT M. GARRINGER
      Assistant United States Attorney
 3    Chief, Criminal Division
      RANEE A. KATZENSTEIN (Cal. Bar No. 187111)
 4    Assistant United States Attorney
      Chief, Major Frauds Section
 5         1100 United States Courthouse
           312 North Spring Street
 6         Los Angeles, California 90012
           Telephone: (213) 894-2432
 7         Facsimile: (213) 894-6269
           Email:     Ranee.Katzenstein@usdoj.gov
 8
      BRETT A. SAGEL (Cal. Bar No. 243918)
 9    Assistant United States Attorney
           Ronald Reagan Federal Building
10         411 West Fourth Street, Suite 8000
           Santa Ana, California 92701
11         Telephone: (714) 338-3598
           Facsimile: (714) 338-3708
12         Email:      Brett.Sagel@usdoj.gov

13    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
14
                               UNITED STATES DISTRICT COURT
15
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                  Plaintiff,                    GOVERNMENT’S RESPONSE TO THE
18                                              REVISED PRESENTENCE REPORT (CR
                       v.                       1042); MEMORANDUM OF POINTS AND
19                                              AUTHORITIES
      MICHAEL JOHN AVENATTI,
20
                  Defendant.
21

22

23          Plaintiff United States of America, by and through its counsel

24    of record, the United States Attorney and Assistant United States

25    Attorneys Brett A. Sagel and Ranee A. Katzenstein, hereby files,

26    pursuant to the Court’s scheduling notice (CR 1029), its response to

27    the Revised Presentence Report and Revised Recommendation Letter

28    submitted by the United States Probation Office on November 7, 2022
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 2 of 12 Page ID #:25369



 1    (CR 1041, 1042).     This response is based on the attached Memorandum

 2    of Points and Authorities, the files and records in this case

 3    including the government’s Sentencing Position and Response to

 4    Presentence Report (CR 1000) and the government’s response to

 5    defendant Michael John Avenatti’s Sentencing Position (CR 1023), and

 6    such further evidence and argument as the Court may receive at the

 7    hearing on defendant’s sentencing.

 8     Dated: November 21, 2022             Respectfully submitted,

 9                                          E. MARTIN ESTRADA
                                            United States Attorney
10
                                            SCOTT M. GARRINGER
11                                          Assistant United States Attorney
                                            Chief, Criminal Division
12

13                                                /s/
                                            BRETT A. SAGEL
14                                          RANEE A. KATZENSTEIN
                                            Assistant United States Attorneys
15
                                            Attorneys for Plaintiff
16                                          UNITED STATES OF AMERICA
17

18

19

20

21

22

23

24

25

26

27

28

                                                2
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 3 of 12 Page ID #:25370



 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.    INTRODUCTION

 3          The government concurs in the findings of the Revised

 4    Presentence Report (“RPSR”) (CR 1042) regarding the applicable

 5    Sentencing Guidelines for the reasons stated in the RPSR and the

 6    additional reasons discussed below.         These findings result in an

 7    advisory sentencing range of 324 to 405 months based on a total

 8    offense level of 39 and a Criminal History Category (“CHC”) III.

 9    (RPSR at ¶ 277.)       The government objects to the U.S. Probation

10    Office’s (“USPO”) recommended downward departure from CHC III to CHC

11    II (RPSR ¶ 294; Revised Recommendation Letter (“Rev. Rec. (CR 1041)

12    at 10)); recommended variance based on § 3553(a) factors (RPSR ¶ 295;

13    Rev. Rec. at 10-11); and recommendation that defendant’s sentence run

14    fully concurrent to the sentences imposed in his criminal cases from

15    the Southern District of New York (“SDNY”) (Rev. Rec. at 11).
16    II.   CONCURRENCE IN THE RPSR’S SENTENCING GUIDELINES CALCULATION1
17          A.    The RPSR Correctly Finds that the Fraud Loss is $12,350,00,
                  Resulting in a 20-Level Enhancement
18

19          The USPO correctly finds that defendant’s fraud offenses caused

20    losses of $12,350,000, the total amount of the settlements at issue.

21    (RPSR ¶ 106.)     Having lied to his clients about the settlements and

22    settlement payments, defendant was not entitled to any fees that

23    would offset this amount. (RPSR ¶¶ 105-106 (noting that defendant did

24    not render services to his client pursuant to his fee agreements or

25    California Rules of Professional Conduct); see also CR 1023 at 2-6.)

26

27
            1The Court is referred to the government’s sentencing position
28    (CR 1000) and response to defendant’s sentencing position (CR 1023)
      regarding the guidelines provisions not discussed herein.
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 4 of 12 Page ID #:25371



 1    Nearly a century of jurisprudence makes clear that when an attorney

 2    commits fraud and violates his duties to his client, the attorney is

 3    not entitled to fees for his services.         (RPSR ¶ 106 n.15; see also

 4    Restatement (Third) of Law Governing Lawyers § 37 (2000) (“A lawyer

 5    engaging in clear and serious violation of duty to a client may be

 6    required to forfeit some or all of the lawyer’s compensation for the

 7    matter. Considerations relevant to the question of forfeiture include

 8    the gravity and timing of the violation, its willfulness, its effect

 9    on the value of the lawyer’s work for the client, any other

10    threatened or actual harm to the client, and the adequacy of other

11    remedies.”); Rodriguez v. Disner, 688 F.3d 645, 655 (9th Cir. 2012)

12    (“a district court has broad discretion to deny fees to an attorney
13    who commits an ethical violation,” and, in making such a ruling, may
14    consider the factors listed § 37 of the Restatement).2
15          B.    There Are Multiple Grounds Supporting Application of the
                  Obstruction of Justice Enhancement
16

17          The USPO applies the obstruction of justice enhancement based on
18    defendant’s attempt to threaten and/or intimidate witnesses, namely
19    Gardner and Whiteside, after a news article identified them as

20    individuals referenced in the indictment.          (RPSR ¶ 128.)    The USPO

21    agrees that, in addition to this basis (cited in the original PSR (CR

22    978)), “the additional examples provided by the government [i.e., CR

23    1000 at 9-12] will trigger the obstruction of justice enhancement

24

25          2The USPO rightfully rejected defendant’s argument that the
      government has taken the position that costs and expenses are offsets
26    to loss and “should not be permitted to reverse course now.” (CR 1026
      at 5-6.). Defendant’s examples demonstrate no such position. The
27    search warrants sought costs and expense documentation for numerous
      reasons, including the ongoing tax investigation, and the testimony
28    elicited at trial established defendant’s intent to defraud in that
      he was not entitled to the full settlement payments that he stole.
                                         2
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 5 of 12 Page ID #:25372



 1    pursuant to USSG §3C1.1, application notes 4(A), (B), and (C).”

 2    (First Addendum to the PSR (CR 1043) at 3-4.)           The additional bases

 3    include defendant’s serving Barela’s wife with a subpoena to

 4    intimidate Barela and his wife; making perjurious statements at

 5    various judgment debtor examinations (“JDE”), his state bar

 6    disciplinary hearing, and a Section 341 bankruptcy hearing; and

 7    submitting a fraudulent document on which defendant forged his

 8    partner’s signature in the EA LLP bankruptcy.           Each of these

 9    additional bases independently supports the obstruction enhancement.

10          The USPO correctly rejected defendant’s argument that the

11    obstruction enhancement could not be applied on these other grounds

12    because the “increase is warranted only when the willful obstruction

13    is performed during the course of the investigation, prosecution, or
14    sentencing of the instant offense or conviction,” and “defendant was
15    [not] aware of any ongoing or impending criminal investigation” at
16    the time of the JDEs or the disciplinary or Section 341 hearings. (CR
17    1026 at 11-12 (emphasis in original)).         Defendant’s arguments are
18    without legal or factual merit.3
19          First, defendant relies on an old version of the Sentencing

20    Guidelines that was amended in 2006 to change “during the course of”

21    to “with respect to” the investigation, prosecution, or sentencing.4

22    USSG, Appx C Amdt. 693 (effective November 1, 2006).            Second,

23

24         3 Defendant attempts to justify serving Barela’s wife with a
      trial subpoena and excluding her from the courtroom by citing her
25    inclusion on the no contact lists provided for bail purposes to
      defendant long before trial and her civil suit against defendant.
26    (CR 1026 at 11.) Neither point addresses the relevant fact, namely,
      that defendant never listed Barela’s wife as a witness to be called
27    at trial.
28         4 The sole case cited by defendant, United States v. DeGeorge,
      380 F.3d 1203, 1222 (9th Cir. 2004), also predates the amendment.
                                         3
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 6 of 12 Page ID #:25373



 1    “willful” for purposes of § 3C1.1 does not require knowledge that an

 2    investigation is pending, only that defendant “engaged in intentional

 3    or deliberate acts designed to obstruct any potential investigation.”

 4    United States v. Gilchrist, 658 F.3d 1197, 1206 (9th Cir. 2011).

 5    Third, defendant does not deny that his under oath testimony at the

 6    JDEs and state bar hearing, was false.5         And defendant’s false

 7    testimony at the state bar hearing regarding his conduct vis-à-vis

 8    Barela took place many months after defendant was charged in this

 9    case with the wire fraud offense related to that very conduct.

10          C.     The USPO Correctly Denied an Offense Level Reduction Based
                   on Acceptance of Responsibility
11

12          Although the USPO included a two-level reduction in defendant’s

13    offense level based on acceptance of responsibility in the original

14    PSR, the USPO does not include it in the RPSR because, “following the

15    defendant’s disclosure of his sentencing positions, the Probation

16    Officer believes the defendant is falsely denying relevant conduct

17    for which he is accountable.”        (CR 1043 at 4.)     The USPO cites as an

18    example defendant’s objecting to the fact that he pleaded guilty to

19    the omnibus clause of 18 U.S.C. § 7212(a) when he, in fact, pleaded

20    guilty to this clause.       (RPSR ¶ 147.)

21          The government concurs and provides the following additional

22    examples of defendant’s false and frivolous denials of relevant

23    conduct, which further support the determination that no reduction

24    for acceptance of responsibility applies.          See USSG § 3E1.1 (comment.

25    (n.1(A))).    Defendant frivolously contests that Johnson was a

26

27          5Defendant refers to his “unrelated and irrelevant statements
      to his law partner” (CR 1026 at 11), but does not address, much less
28    deny, that he forged Mr. Eagan’s signature on the filing submitted in
      EA LLP’s bankruptcy proceeding to get the matter dismissed.
                                         4
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 7 of 12 Page ID #:25374



 1    vulnerable victim, even though he is paraplegic and has psychological

 2    issues (RPSR ¶¶ 42, 122); that defendant’s criminal conduct caused

 3    substantial financial hardship to Johnson, Gardner, and Barela,

 4    despite the overwhelming evidence that defendant’s theft of their

 5    money derailed Johnson’s ability to purchase a house and caused his

 6    SSI benefits to be cut off, caused Gardner to be without a place to

 7    live, and prevented Barela from being able to pay his mortgage,

 8    credit card bills and for his living expenses (RPSR ¶¶ 109-111); and

 9    that he owes Phan any money, despite pleading guilty to a wire fraud

10    count specifically based on his theft from Phan (count 8).6

11    III. THE COURT SHOULD REJECT THE RPSR’S RECOMMENDED DEPARTURE AND
           VARIANCE
12
            A.    Criminal History Category III Does Not Overstate the
13                Seriousness of Defendant’s Criminal History
14          The USPO has not responded to the government’s objection to the
15    proposed departure in Criminal History Category (CR 1000 at 16-18)
16    and instead repeats verbatim the reasons she originally provided for
17    this recommendation. (Compare CR 977 at 9 with CR 1041 at 10.)             The
18    USPO’s analysis remains incorrect for the reasons explained in the
19    government’s objection.       Moreover, CHC III does not overstate the

20

21          6Defendant’s assertion that, not only does he not owe Phan
      money but, to the contrary, she owes him money (CR 1016 at 26; CR
22    1026 Ex. LL; CR 1024 at 11-13) reveals that he has not accepted
      responsibility for his criminal conduct as well as the insincerity of
23    his “apology” letter to the victims. In the letter, defendant says,
      “Each of you deserved a loyal attorney who you could trust . . . and
24    who would not defraud you. . . My actions resulted in all of you
      suffering damages. . . I am committed to . . . ensuring that you
25    fully recover all money you are due as a result of my illegal
      actions. I promise to work tirelessly to ensure that this occurs.
26    You obviously owe me nothing.” (RPSR ¶ 95.) Similarly, defendant
      admitted at his change of plea under oath that he “misappropriated
27    and misused” Phan’s settlement funds. (RT 6/16/22 at 20.) Defendant’s
      sentencing submissions lack any support for his asserted valuation of
28    the benefits Phan received and his claim that Phan owed defendant
      $4,387,500 -- and now owes defendant $387,500. (CR 1026 Ex. LL.)
                                         5
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 8 of 12 Page ID #:25375



 1    seriousness of defendant’s criminal history and likelihood of

 2    recidivism given the number and variety of his prior convictions

 3    (RPSR ¶¶ 162-163); this Court’s finding that he likely committed

 4    crimes while on pre-trial release and is an “ongoing danger” to the

 5    community (RT 1/15/20 at 36-37); and his failure to accept

 6    responsibility for his crimes in this case.

 7          B.    The Recommended Variance Fails to Consider Aggravating
                  Factors
 8

 9          In recommending a four-level downward variance from the advisory

10    guideline range –- on top of a CHC departure and recommendations that

11    the sentence be at the low end of the guideline range and be imposed

12    to run concurrently with defendant’s previously imposed sentences --

13    the USPO ignores the aggravating factors and focuses almost

14    exclusively on what she considers mitigating factors, namely, the

15    legal work defendant performed to obtain settlements for his

16    clients7; his “unstable and abusive childhood;” his “stable work

17    history as an attorney” prior to his criminal conduct; and his being
18    a “devoted father to his children . . . [and] positive influence.”
19    (Rev. Rec. at 10.)8      The USPO’s § 3553 analysis, which essentially

20    treats the advisory guidelines as a ceiling and only considers

21    purported mitigating factors in connection with recommending a

22    reduced sentence, is flawed.

23          The USPO’s sentencing recommendation fails to consider in

24    aggravation the other aspects and collateral consequences of

25

26         7 The victims certainly would not describe defendant’s actions
      as legal work on their behalf.
27
           8 The government explained why these circumstances do not
28    support a downward variance in its initial sentencing memorandum (CR
      1000 at 42-44) and will not repeat that discussion here.
                                         6
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 9 of 12 Page ID #:25376



 1    defendant’s criminal conduct not accounted for by the sentencing

 2    guidelines, including the additional crimes defendant committed

 3    during the course of his wire fraud scheme; the other victims of

 4    defendant’s wire fraud scheme in addition to Johnson, Gardner,

 5    Barela, and Phan; the harm defendant’s conduct caused to numerous

 6    people in addition to the four count victims; and the serious and

 7    complex tax fraud defendant committed, which does not affect

 8    defendant’s sentencing guideline range because no multi-count

 9    adjustment applies.      (See CR 1000 at 25-28.)      Although the USPO

10    states that defendant’s “criminal history, in particular, his prior
11    federal fraud offense (including the instant offense), speak to
12    [defendant]’s recidivism and need for deterrence” (Rev. Rec. at 7),
13    the USPO otherwise fails to address the need for a significant
14    sentence for specific and general deterrence (see CR 1000 at 35-39).
15    Assuming arguendo that the factors set forth by the USPO are
16    mitigating, they are greatly outweighed by the aggravating factors
17    detailed previously by the government. (CR 1000 at 20-25.)
18    IV.   THE COURT SHOULD NOT IMPOSE A CONCURRENT SENTENCE
19          The Court should not adopt the USPO’s recommendation to impose

20    the sentence in the instant case concurrent with the defendant’s

21    previously imposed sentences.        A sentence concurrent with the

22    existing 24-month sentence for the violation of 18 U.S.C. § 1028A

23    would contradict Congress’ intent in including a mandatory concurrent

24    sentence in § 1028A(b), namely, to ensure significant penalties for

25    identity theft.9     The statute provides that, “[n]otwithstanding any

26
            9According to the House Report, § 1028A was enacted to address
27
      Congress’s concern that identity thieves under prior law would often
28    receive short prison sentences or be sentenced to probation and
                                              (footnote cont’d on next page)
                                         7
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 10 of 12 Page ID #:25377



 1     other provision of law –- except as provided in paragraph (4), no

 2     term of imprisonment on a person under this section shall run

 3     concurrently with any other term of imprisonment imposed on the

 4     person under any other provision of law. . .” 18 U.S.C. § 1028A(b)(2)

 5           The exception in paragraph (4), which the USPO relies on when

 6     addressing the government’s argument against a concurrent sentence

 7     (CR 1043 at 6-7), has no relevance here.         The exception addresses

 8     situations in which a court is imposing sentences “at the same time”

 9     for “an additional violation of this section [i.e., § 1028A].”             Here,

10     the Court will be imposing sentence for wire fraud and tax offenses
11     after a different court imposed the sentence for the § 1028A
12     violation.    The statute’s prohibition on concurrent sentences in
13     these circumstances is clear.
14           It is true that the statute precludes concurrent sentencing as
15     to a “term of imprisonment imposed on a person under this section,”
16     and, therefore, the statute leaves open the possibility that, once
17     the § 1028A sentence has been imposed, a future judge who is
18     sentencing for some unrelated crime under some other section is not
19     constrained by the language of § 1028A(b)(2).          Even if the statute

20     allows for concurrent sentencing in the circumstances presented here,

21     the Court should decline to order it and should run the sentence in

22

23     afterwards “go on to use false identities to commit much more serious
       crimes.” H.R. Rep. No. 108-528, at 3 (2004), reprinted in 2004
24     U.S.C.C.A.N. 779, 780. Thus, the consecutive sentencing provisions in
       § 1028A(b) were enacted to “ensure the intent of this legislation
25     [was] carried out.” Id. at 10, 2004 U.S.C.C.A.N. at 786; see also
       United States v. Godin, 534 F.3d 51, 62 (1st Cir. 2012) (Lynch, C.J.,
26     concurring) (explaining that the language of § 1028A “shows how
       serious Congress was about increasing the mandatory sentence” because
27
       it “expressly cuts off most of the mechanisms through which such a
28     sentence could be reduced”).

                                               8
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 11 of 12 Page ID #:25378



 1     the instant case consecutive to at least the 24 months imposed by the

 2     Court in SDNY for the § 1028A offense to effectuate Congress’ clear

 3     intent to provide incremental punishment for § 1028A offenses.

 4     Likewise, even if the policy statement in the guidelines allows for a

 5     fully concurrent sentence, such a sentence -- which would amount to a

 6     5-year reduction in the sentence for the instant offenses -- would

 7     not achieve reasonable punishment as the guidelines require. See USSG

 8     5G1.3(d) & comment. (n.4).

 9     V.     RESTITUTION

10            The RPSR properly calculates the mandatory restitution owed to

11     defendant’s wire fraud victims10 and correctly recommends that the

12     Court impose restitution to the IRS for the tax offense as a
13     condition of supervised release.        (RPSR ¶¶ 289-293; CR 1000 at 44-
14     46.)    The USPO correctly rejected defendant’s assertion that the wire
15     fraud restitution amounts “do not account for credits due defendant”
16     (CR 1026 at 6-7, Ex LL) because defendant’s claimed other “work”
17     and/or “offsets” are unsubstantiated, specifically disavowed by the
18     clients, or pertain to work done, if at all, simply to further
19     conceal defendant’s fraud.11 (See CR 1043 at 13-14.)

20            The Court must order full restitution for the losses defendant

21     caused. 18 U.S.C. § 3663A.       Restitution is due to the victims or to

22     third parties who paid money to the victims to address their losses,

23

24            The restitution amount for Gardner should be $1,432,585 rather
              10

       than the $1,460,785 previously stated by the government and the USPO
25     (see CR 1000 at 45; RPSR ¶ 291), based on the additional expenses
       incurred by the X-Law Group (Tr. Exs 167, 168), less the $6,067.62
26     already included in the Gardner Tabs records (CR 1000, Decl. Ex D).
27            For example, the record contradicts defendant’s newfound claim
              11
       that Phan owes him money, and defendant provides nothing to support
28     the numbers he purports to use to reduce the undisputed $4,000,000 he
       stole from Phan.
                                          9
     Case 8:19-cr-00061-JVS Document 1047 Filed 11/21/22 Page 12 of 12 Page ID #:25379



 1     with the third parties receiving restitution after the victims are

 2     paid.        See 18 U.S.C. §§ 3664(f)(1)(B), (j)(1); United States v. Rizk,

 3     660 F.3d 1125, 1136-37 (9th Cir. 2011).12

 4     VI.     CONCLUSION

 5             For the reasons set forth above and in the government’s

 6     previously filed positions (CR 1000; CR 1023), the government

 7     respectfully requests that Court sentence defendant to 210 months in

 8     prison on each of counts 5, 8, 9 and 10, to run concurrently to one

 9     another, and 36 months on count 19, to run concurrently with the

10     sentences imposed on counts 5, 8, 9 and 10, with all sentences to be

11     consecutive to the sentences imposed in the SDNY cases; a three-year

12     period of supervised release; a mandatory special assessment of $500;

13     and restitution in the amount of $7,603,564 due to the wire fraud

14     victims and $3,207,144 to the IRS as a condition of supervised

15     release.

16

17

18            In claiming that the amount of restitution should be “offset”
               12
       by payments made to the victims through civil litigation, defendant
19     cites United States v. Stanley, 309 F.3d 611 (9th Cir. 2002), and
       United States v. Thompson, 792 F.3d 273 (2d Cir. 2015). (CR 1026 at
20     6-7.) Neither case supports defendant’s claim. Stanley addressed
       the process to be used, pursuant to 18 U.S.C. § 3664(j)(2), to
21     determine a defendant’s restitution obligation when co-defendants
       have paid civil damages for the same loss for which defendant is
22     liable. The purpose is to avoid double recovery by the victim.
       Stanley, 309 F.3d at 613-614. Here, the third parties who paid the
23     victims were not co-defendants and not criminally responsible for the
       victims’ losses, and there is no risk of double recovery. Thompson
24     simply recognized that the amount of restitution a defendant owes to
       a third-party insurer cannot exceed the amount the defendant could
25     lawfully be ordered to pay the original victim. 792 F.3d at 279-280.
       Defendant also incorrectly claims the USPO’s restitution amount
26     improperly charges him with attorneys’ fees, costs and other expenses
       that are not recoverable and would result in double-recovery. (CR
27     1026 at 7.) The restitution amount does not include any fees under
       18 U.S.C. § 3663A(b)(4) and only seeks to place the victims where
28     they would have been but for defendant’s criminal conduct. See
       United States v. Gagarin, 950 F.3d 596, 607 (9th Cir. 2020).
                                         10
